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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                VALDOSTA DIVISION

 PIMPAKTRA RUST,                                  )
                                                  )
         Plaintiff,                               )
                                                  )
 v.                                               )
                                                  )
 VINA ELISA RUST, CHAKDHARI                       )
 ANISSA RUST, individually and as Co-             )
 Executors of the ESTATE OF RICHARD C.            )
 RUST, successor in interest as executor of the   )
                                                                Case No.: 7:21-cv-00105
 ESTATE OF PHILIP G. RUST JR., and THE            )
 BRYN MAWR TRUST COMPANY OF                       )
 DELAWARE, a limited purpose trust                )
 company, in its capacity as trustee for the      )
 trusts created for the benefit of Richard C.     )
 Rust under agreement dated July 10, 1953, as     )
 amended.                                         )
                                                  )
         Defendants.                              )
                                                  )

                                    PROPOSED ORDER

        Having considered the Consent Motion to Extend Time for The Bryn Mawr Trust Company

of Delaware to File an Answer or Otherwise Respond to Plaintiff’s Complaint, it is hereby:

        ORDERED AND ADJUDGED that the Consent Motion is GRANTED, and that the time

in which Defendant The Bryn Mawr Trust Company of Delaware has to answer or otherwise

respond to Plaintiff’s Complaint shall be extended up through and including September 30, 2021.

              15th day of _______________,
        This _____           September     2021.



                                                        s/Hugh Lawson
                                                      Judge Hugh Lawson
                                                      United States District Court
                                                      Middle District of Georgia
                                                      Valdosta Division



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